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11
                                  UNITED STATES DISTRICT COURT
12                               NORTHERN DISTRICT OF CALIFORNIA
                                     SAN FRANCISCO DIVISION
13
     FACEBOOK, INC., et al.,                         Case No. 3:19-cv-07071-SI
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                   Plaintiffs,
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                                                     [PROP] ORDER GRANTING
16          v.                                       DEFENDANT XIAMEN 35.COM
                                                     TECHNOLOGY CO., LTD.’S
17   ONLINENIC INC., et al.,                         ADMINISTRATIVE MOTION UNDER
                                                     LOCAL RULE 7-11 FOR
18                 Defendants.                       EVIDENTIARY HEARING AND TO
                                                     AUGMENT THE RECORD FOR THE
19
                                                     REPORT AND RECOMMENDATION
20                                                   FOR TERMINATING SANCTIONS
                                                     AGAINST DEFENDANTS [D.E. 225]
21
                                                     Related D.E. 229 Motion Hearing:
22                                                   Date: June 17, 2022
23                                                   Time: 10:00 am
                                                     Courtroom: #1, 17th Fl.
24
                                                     Hon. Susan Illston
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     Case No. 3:19-cv-07071-SI                         [PROP] ORDER RE. DEF’S ADMIN MTN
                                                       FOR EVID. HEARING & AUG. RECORD
      Case 3:19-cv-07071-SI         Document 238-2    Filed 05/26/22   Page 2 of 2



1           Upon consideration of the administrative motion by Defendant Xiamen 35.com

2    Technology Co., Ltd. (“Defendant” or “35.CN”) for an evidentiary hearing and to augment

3    the record, the Court having reviewed and considered the motion documents, as well as

4    the other related papers and pleadings on file herein, and finding good cause appearing,

5    finds and orders as follows:

6           IT IS ORDERED THAT Defendant 35.CN’s administrative motion GRANTED.

7           IT IS FURTHER ORDERED THAT the Court shall set a date and time for an

8    evidentiary hearing on the issue of Plaintiffs’ notice to Defendants concerning the domain
9    names at issue in this case and set a schedule to augment the record.

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            IT IS SO ORDERED.
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      DATED: ______________                 ____________________________________
13                                                  United States District Judge
                                              for the Northern District of California
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     Case No. 3:19-cv-07071-SI                           [[PROP] ORDER RE. DEF’S ADMIN MTN
                                                 1       FOR EVID. HEARING & AUG. RECORD
